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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

B.W.,                                           )
                                                )
         Plaintiff,                             )
                                                )
vs.                                             )       Case No. 4:18-CV-1025
                                                )
CITY OF ST. LOUIS, MISSOURI, and                )       JURY TRIAL DEMANDED
JOHN STEWART, in his individual                 )
capacity,                                       )
                                                )
         Defendants.                            )

                                   PLAINTIFF’S COMPLAINT

         COMES NOW Plaintiff B.W. (“Plaintiff”), by and through her attorney, and for her

Complaint against Defendant City of St. Louis, Missouri (hereinafter “Defendant City of St.

Louis”) and Defendant John Stewart (hereinafter “Defendant Stewart”) and respectfully states to

this Honorable Court the following:

         1.      This is a civil action arising under 42 U.S.C. § 1983 and common law avenues of

recovery for deprivations of civil rights against the Defendants.

         2.      Plaintiff sues Defendant Stewart in his individual capacity.

         3.      Plaintiff brings this suit for the injuries sustained as a result of the Constitutional

violations as alleged herein.

         4.      Defendant City of St. Louis is a political subdivision of the State of Missouri and

is a person for purposes of a 42 U.S.C. § 1983 action of damages.

         5.      Defendant Stewart, at all times relevant herein, was a City of St. Louis police officer

working under the direction and control of Defendant City of St. Louis.
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                                         JURISDICTION

       6.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331 and § 1343(a)(3).

                                              VENUE

       7.      Venue is proper under 28 U.S.C. § 1391(b)(2) as the incident(s) subject to this case

occurred in the City of St. Louis in this Eastern District of Missouri.

                                    COLOR OF STATE LAW

       8.      At all relevant times, Defendant Stewart acted under color of state law.

       9.      Particularly, Defendant Stewart acted under color of the laws, statutes, ordinances,

regulations, policies, customs and usages of the State of Missouri, and its political subdivisions.

                                   FACTUAL BACKGROUND

       10.     On the evening of June 12, 2015, the estranged husband of Plaintiff suddenly took

the family vehicle from Plaintiff’s residence and absconded.

       11.     Plaintiff then called the Saint Louis Metropolitan Police Department to report the

incident.

       12.     On the night of June 12, 2015, Plaintiff lived in a home in the City of St. Louis

along with her four children.

       13.     Following Plaintiff’s call for assistance, Defendant Stewart responded to the call

and arrived at Plaintiff’s residence.

       14.     Upon arriving at Plaintiff’s residence, Defendant Stewart entered the dwelling and

began speaking with Plaintiff.

       15.     Upon hearing Plaintiff describe the situation in which the family vehicle was taken,

Defendant Stewart, rather than asking questions about the situation, asked Plaintiff, “Are you

freaky?”


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           16.     Defendant Stewart then indicated that he wanted Plaintiff to perform oral sex on

Defendant Stewart in Plaintiff’s dwelling.

           17.     Defendant Stewart made the demand for oral sex to Plaintiff.

           18.     Plaintiff was in a state of obvious fear because of the theft of the family vehicle.

Furthermore, she was, as an African-American female, frightened to be in the presence of a white

male police officer brazenly exhibiting his power over Plaintiff by demanding that she perform

sexual acts on Defendant Stewart while her four children slept in a bedroom just a few feet away.

           19.     Plaintiff feared for her safety and for her life.

           20.     Defendant Stewart coerced Plaintiff into performing oral sex on Defendant Stewart.

           21.     The contact by Defendant Stewart was in fact undertaken for Defendant Stewart’s

sexual gratification1.

           21.     Plaintiff then vomited into a towel, called her mother and reported the incident to

the police.

           22.     Due to duress and the related balance of power in Defendant Stewart’s favor,

Plaintiff had no lawful capacity to consent to Defendant Stewart’s sexual assault2.

                                      DAMAGES AS TO ALL COUNTS

           23.     Plaintiff suffered and continues to suffer:

                   a.       Humiliation,

                   b.       Indignity,

                   c.       Disgrace,

                   d.       Stress,

                   e.       Fear,


1
    State v. Lewis, 388 S.W.3d 252 (Mo. Ct. App. 2012).
2
    MAI – CR 3d 320.07.
                                                          3
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                    f.       Mental suffering,

                    g.       Anxiety over sex, and

                    h.       Fear of police.

                                                     COUNT I

                 VIOLATION OF CIVIL RIGHTS – SUBSTANTIVE DUE PROCESS
                      42 U.S.C. § 1983 AND FOURTEENTH AMENDMENT
                           AGAINST DEFENDANT JOHN STEWART
                  FOR COMPENSATORY DAMAGES AND ATTORNEY’S FEES

           24.      Plaintiff re-alleges all of the preceding paragraphs as if set forth fully herein.

           25.      The sexual misconduct of Defendant Stewart against Plaintiff was so egregious and

so outrageous that it may fairly be said to shock the contemporary conscience3.

           26.      Defendant Stewart violated Plaintiff’s rights to substantive due process.

           27.      As a direct result of the actions of Defendant Stewart, Plaintiff suffered the damages

outlined above.

                                            Compensatory Damages

           28.      Under 42 U.S.C. § 1983, Plaintiff is entitled to an award of compensatory damages

against Defendant Stewart.

                                                Punitive Damages

           29.      Defendant Stewart’s actions against Plaintiff were reckless.

           30.      Defendant Stewart’s actions against Plaintiff showed callous indifference toward

the rights of Plaintiff.

           31.      Defendant Stewart’s actions against Plaintiff were taken in the face of a perceived

risk that the actions would violate federal law.




3
    Warren v. City of Lincoln, Neb., 864 F.2d 1436, 1440 (8th Cir. 1989).
                                                           4
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         32.      Plaintiff is entitled to an award of punitive damages against Defendant Stewart in

order to punish him and to deter others.

                                                Attorney’s Fees

         33.      Under 42 U.S.C. § 1988, if Plaintiff is the prevailing party in this litigation, then

she will be entitled to receive an award of reasonable attorney’s fees, non-taxable expenses and

costs.

         WHEREFORE, Plaintiff prays for judgment under 42 U.S.C. § 1983 and 1988 against

Defendant John Stewart in his individual capacity for compensatory damages in a fair and

reasonable amount, for punitive damages, for reasonable attorney’s fees, for and non-taxable

expenses, for costs, and Plaintiff prays for such other relief as may be just under the circumstances

and consistent.

                                                   COUNT II

                              VIOLATION OF CIVIL RIGHTS
                   42 U.S.C. § 1983, RESPONDEAT SUPERIOR AGAINST
                      DEFENDANT CITY OF ST. LOUIS, MISSOURI
                FOR COMPENSATORY DAMAGES AND ATTORNEY’S FEES

         34.      Plaintiff re-alleges all of the preceding paragraphs as if set forth fully herein.

         35.      At all relevant times Defendant Stewart was serving as an employee of Defendant

City of St. Louis as a police officer.

         36.      At all relevant times Defendant Stewart was engaging in a government function.

         37.      At all relevant times Defendant Stewart was acting within the course and scope of

that employment, albeit ostensibly.

         38.      Defendant City of St. Louis is liable under a theory of respondeat superior4.



4
 Plaintiff makes this claim based on the dissent of Justice Breyer in Bd. of Cty. Comm’rs of Bryan Cty., Okl. v.
Brown, 520 U.S. 397, 416, 117 S. Ct. 1382, 1394, 137 L. Ed. 2d 626 (1997).
                                                         5
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          39.   The actions of Defendant Stewart caused Plaintiff to suffer the damages outlined

herein.

          40.   The actions of Defendant Stewart caused Decedent Plaintiff to suffer the damages

outlined herein.

                                     Compensatory Damages

          41.   Under 42 U.S.C. § 1983, Plaintiff is entitled to an award of compensatory damages

against Defendant City of St. Louis.

                                          Attorney’s Fees

          42.   Under 42 U.S.C. § 1988, if Plaintiff is the prevailing party in this litigation, then

she will be entitled to receive an award of reasonable attorney’s fees, non-taxable expenses and

costs.

          WHEREFORE, Plaintiff prays for judgment under 42 U.S.C. § 1983 and 1988 against

Defendant City of St. Louis, Missouri for compensatory damages in a fair and reasonable amount,

for reasonable attorney’s fees, and non-taxable expenses, for costs and such other relief as may be

just under the circumstances and consistent with the purpose of 42 U.S.C. § 1983.

                                              Respectfully submitted,

                                              SCHOTTEL & ASSOCIATES, P.C.

                                              BY: s/James W. Schottel, Jr.
                                                     James W. Schottel, Jr. #51285MO
                                                     906 Olive St., PH
                                                     St. Louis, MO 63101
                                                     (314) 421-0350
                                                     (314) 421-4060 facsimile
                                                     jwsj@schotteljustice.com

                                                      Attorney for Plaintiff
                                                      B.W.



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